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                       IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA

 ALEX REINIG individually and on behalf of
 those similarly situated
 223 Inverness Drive                                CIVIL ACTION COMPLAINT
 Moon, PA 15108
                                                    CIVIL ACTION NO:
 and

 KEN GRITZ individually and on behalf of
 those similarly situated
 1913 Teal Trace
 Pittsburgh PA 15237                                JURY TRIAL DEMANDED

 and

 BOB SODA individually and on behalf of
 those similarly situated
 415 Fairborough Court
 Coraopolis, PA 15108

                Plaintiffs,

        v.

 RBS CITIZENS, N.A.

                Defendant.

             INDIVIDUAL, CLASS, AND COLLECTIVE ACTION COMPLAINT

       Plaintiff Alex Reinig (hereinafter “Plaintiff Reinig”), Plaintiff Ken Gritz (hereinafter

“Plaintiff Gritz”), Plaintiff Bob Soda (hereinafter “Plaintiff Soda”), (hereinafter collectively

"Plaintiffs"), by and through their undersigned attorneys, bring this action against Defendant RBS

Citizens, N.A. (hereinafter “Defendant”), individually and on behalf of themselves and all others

similarly situated, for overtime compensation and other relief under the Fair Labor Standards Act

("FLSA"), 29 U.S.C. § 201, et seq. In addition to their nationwide FLSA claims, Plaintiffs also

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seek relief on behalf of themselves and all others similarly situated under the Pennsylvania

Minimum Wage Act ("PMWA"), 43 Pa. Stat. §333.101, et seq., and the Pennsylvania Wage

Payment and Collection Law ("PWPCL"), 43 Pa. Stat. § 260.1 et seq. Plaintiffs' FLSA claims are

asserted as a collective action pursuant to 29 U.S.C. §216(b), and the Pennsylvania State Law

Claims are asserted on a class wide basis pursuant to Federal Rule of Civil Procedure 23. The

following allegations are based on personal knowledge as to Plaintiffs' own conduct and are made

on information and belief as to the acts of others.

                                        INTRODUCTION

                                 JURISDICTION AND VENUE

       1.      This Court has subject matter jurisdiction over this action pursuant to the terms of

the FLSA (29 U.S.C. §216(b)) and 28 U.S.C. §1331.

       2.      This Court also has original jurisdiction over the State Law Claims in this action

under the Class Action Fairness Act, 28 U.S.C. §1332(d), because this is a class action in which:

(1) there are 100 or more members in Plaintiffs' proposed classes; (2) at least some members of

the proposed classes have different citizenship from Defendant; and (3) the claims of the proposed

class members, upon information and belief, exceed $5,000,000 in the aggregate. In addition or in

the alternative, this Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367 over

Plaintiffs' State Law Claims because those claims derive from a common nucleus of operative fact.

       3.      Venue is proper in the Western District of Pennsylvania pursuant to 28 U.S.C.

§1391 because a substantial part of the events forming the basis of this action occurred in this

district and the parties have agreed to this venue.

                                             PARTIES

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       4.      Defendant is a subsidiary of the Citizens Financial Group, Inc., (“CFG”) a

Delaware corporation with its principal place of business/headquarters located at One Citizens

Plaza, Providence, Rhode Island.

       5.      Defendant operates bank branches under the name “Citizens Bank” in

Pennsylvania, Rhode Island, Vermont, New Hampshire, Massachusetts, Connecticut, New York,

New Jersey, and Delaware.

       6.      Defendant also operates bank branches under the name “Charter One” in Illinois,

Michigan, and Ohio.

       7.      CCO Mortgage is a division of Defendant that services loans made by CFG’s

subsidiary banks in thirteen states, and has loan offices in two additional states.

       8.      Defendant sells mortgage loans and other financial products in multiple states,

including Pennsylvania. On information and belief, Defendant’s annual sales of same has been

greater than $500,000 at all relevant times.

       9.      Defendant was/is at all times material hereto, an “Employer,” as that term is defined

in the FLSA and the PMWA, to Plaintiffs, and similarly situated Plaintiffs.

       10.     Plaintiff Reinig is a former employee of Defendant as defined by 29 U.S.C. §203(e).

Plaintiff Reinig was employed by Defendant as a Mortgage Loan Officer (“MLO”) in Pittsburgh,

PA from December 16, 2013 until on or around July 1, 2015, and worked over 40 hours per week

and was not paid overtime. Plaintiff resides in Pennsylvania.

       11.     Plaintiff Gritz is a former employee of Defendant as defined by 29 U.S.C. §203(e).

Plaintiff Gritz was employed by Defendant as a MLO in Pittsburgh, PA from November 21, 2014



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until on or around October 2, 2015, and worked over 40 hours per week and was not paid overtime.

Plaintiff Gritz resides in Pennsylvania.

        12.     Plaintiff Soda is a current employee of Defendant as defined by U.S.C. §203(e).

Plaintiff Soda was employed by Defendant as a MLO in Pittsburgh, PA from February 1, 2014

and remains employed as of the date of this instant action. Plaintiff worked and continues to work

over 40 hours per week and was/is not paid overtime. Plaintiff Soda resides in Pennsylvania.

                           COLLECTIVE ACTION ALLEGATIONS

        13.     The foregoing paragraphs are incorporated herein as if set forth in their entirety.

        14.     Plaintiffs bring this action for violations of the FLSA as a collective action pursuant

to Section 16(b) of the FLSA, 29 U.S.C. §216(b), on behalf of all Mortgage Loan Officers

(“MLOs”) who were employed by Defendant nationwide within the last three years (members of

this putative class are referred to as “Nationwide Collective Plaintiffs”).

        15.     Plaintiffs’ claims are typical of the claims of Nationwide Collective Plaintiffs,

because Plaintiffs, like all Nationwide Collective Plaintiffs, were employees of Defendant whom

Defendant failed to pay minimum wage and overtime compensation as required by the FLSA in

the last three years.

        16.     Plaintiffs will fairly and adequately protect the interests of Nationwide Collective

Plaintiffs, because Plaintiffs’ interests are coincident with, and not antagonistic to, those of the

class. Plaintiffs have retained counsel with substantial experience in the prosecution of claims

involving employee wage disputes.




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       17.     No difficulties are likely to be encountered in the management of this collective

action that would preclude its maintenance as a collective action. The class will be easily

identifiable from Defendant’s records.

       18.     Similarly situated employees are known to Defendant, are readily identifiable by

Defendant, and can be located through Defendant’s records. Plaintiffs do not know the exact size

of the potential class, as such information is in the exclusive control of Defendant; however, on

information and belief, the number of potential class members is estimated to be in excess of 1,000

individuals.

       19.     Questions of law and fact that are common to the members of the class predominate

over questions that affect only individual members of the class. Among the questions of law and

fact that are common to the class are whether Defendant failed to pay the Plaintiffs and putative

class members minimum wage and overtime for all hours worked by: (1) unlawfully requiring

significant off-the-clock work; (2) deducting overtime and wages previously paid to employees in

subsequent weeks, thereby evading the requirements of the FLSA; and (3) failing to properly

calculate the regular rate of pay when calculating overtime premiums due.

       20.     Therefore, Plaintiffs should be permitted to bring this action as a collective action

for and on behalf of themselves and those employees similarly situated, pursuant to the “opt-in”

provisions of the FLSA, 29 U.S.C. §216(b).

                              CLASS ACTION ALLEGATIONS

       21.     The foregoing paragraphs are incorporated herein as if set forth in their entirety.




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       22.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure and the Class Action

Fairness Act of 2005, Plaintiffs bring their claims for relief on behalf of themselves and those

similarly situated.

       23.     Specifically, Plaintiffs seek to represent a class of all persons who worked for

Defendant as Mortgage Loan Officers (“MLOs”) in the last three years in Pennsylvania.

       24.     The class is so numerous that the joinder of all class members is impracticable.

Plaintiffs do not know the exact size of the class, as such information is in the exclusive control of

Defendant; however, on information and belief, the number of potential class members is estimated

to be in excess of 1,000 individuals.

       25.     Plaintiffs’ claims are typical of the claims of the putative class members, because

Plaintiffs, like all putative class members, were denied overtime and minimum wage under the

Pennsylvania Minimum Wage Act and were subject to unlawful deductions under the

Pennsylvania Wage Payment and Collection Law.

       26.     Plaintiffs will fairly and adequately protect the interests of the putative class

because Plaintiffs’ interests are coincident with, and not antagonistic to, those of the class.

Plaintiffs have retained counsel with substantial experience in the prosecution of claims involving

employee wage disputes.

       27.     No difficulties are likely to be encountered in the management of this class action

that would preclude its maintenance as a class action. The class will be easily identifiable from

Defendant’s records.

       28.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Such treatment will allow all similarly situated individuals to

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prosecute their common claims in a single forum simultaneously. Prosecution of separate actions

by individual members of the putative class would create the risk of inconsistent or varying

adjudications with respect to individual members of the class that would establish incompatible

standards of conduct for Defendant. Furthermore, the amount at stake for individual putative class

members may not be great enough to enable all of the individual putative class members to

maintain separate actions against Defendant.

       29.     Questions of law and fact that are common to the members of the class predominate

over questions that affect only individual members of the class. Among the questions of law and

fact that are common to the class are whether Defendant failed to pay Plaintiffs and the putative

class minimum wage and overtime for all hours worked by: (1) unlawfully requiring significant

off-the-clock work; (2) deducting overtime and wages previously paid to employees in subsequent

weeks, thereby evading the requirements of the PMWA and violating the PWPCL; and (3) failing

to properly calculate the regular rate of pay when calculating overtime premiums due.

                                 FACTUAL BACKGROUND

       30.     For many years, Defendant has employed MLOs to sell residential mortgage loans

to customers throughout the United States through Defendant’s offices and branches located in

Pennsylvania, New Jersey, New York, Rhode Island, and other States in the United States of

America.

       31.     Prior to 2012, Defendant misclassified all of its MLOs as “exempt employees”

pursuant to the overtime provisions of the FLSA and the PMWA: That is, Defendant only paid

MLOs on a pure commission basis, with a monthly draw subject to recapture by Defendant, and

Defendant paid no overtime to any MLOs for hours worked over 40 hours in a workweek, despite

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the fact that Defendant had regular and specific knowledge that its MLO’s were regularly engaged

in non-exempt work and were regularly working far in excess of 40 hours per week for Defendant’s

benefit.

       32.      On information and belief, on or around April 15, 2012, Defendant reclassified all

MLOs as non-exempt employees eligible for overtime.

                      Defendant’s Post-Reclassification Failure to Pay Overtime

       33.      Plaintiffs and all other similarly situated current and/or former MLOs frequently

worked over 40 hours in a workweek while employed by Defendant without receiving overtime

compensation.

       34.      Plaintiffs and all other similarly situated current and/or former MLOs performed

work for Defendant as MLOs and were not paid one and one-half times their appropriate regular

hourly rate for hours they worked over 40 in a workweek (“overtime compensation”).

       35.      Defendant required Plaintiffs and all other similarly situated MLOs to attend

residential open houses on the weekend to network with realtors and did not pay for such time.

       36.      Defendant required Plaintiffs and all other similarly situated MLOs to engage in E-

Learning modules after work hours, and did not pay for such time.

       37.      From on or around February 2015 until October 2015, Defendant required Plaintiffs

and all other similarly situated MLOs to engage in after-hours training on Defendant’s new

software system.

       38.      Defendant was further aware that Plaintiffs and all other similarly situated MLOs

worked with clients and customers after-work hours, and Defendant did not pay for such time.



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       39.     Defendant issued Plaintiffs and all other similarly situated MLOs laptops

computers so Plaintiffs and all other similarly situated MLOs could work from home and other

locations, with the intention that Plaintiffs and all other similarly situated MLO’s work from home

after hours and on weekends to process their loans towards closing.

       40.     Plaintiffs and all other similarly situated MLOs were compensated by receiving a

“non-refundable draw” of $24,000.00 per year to ensure a minimum wage was paid to the MLO’s

for 40 hours of work per workweek, i.e. an hourly rate of pay of $11.50 (“base hourly rate”).

       41.     Plaintiffs and all other similarly situated MLOs were paid a commission based on

the loans Plaintiffs and other MLOs originate.

       42.     Defendant paid this commission to Plaintiffs once per month.

       43.     In paying this commission, Defendant deducted the amount of money that had

already been paid in salary and overtime over the prior month (“salary and overtime deductions”).

       44.     Plaintiffs and all other similarly situated MLOs were told by Defendant’s Managers

that they could only report overtime hours if same were pre-authorized.

       45.     Defendant’s Managers regularly refused to pre-authorize Plaintiffs and all other

similarly situated MLOs to report overtime work.

       46.     On the rare occasions when Plaintiffs and all other similarly situated MLOs worked

and were authorized to report on their timesheets hours in excess of 40 hours per week, they were

initially paid in the one-and-a-half times their base hourly rate of $11.50 per hour, i.e., 17.25 per

hour (“overtime payments”). However, such overtime payments were illusory, as at least two

thirds of same were deducted from Plaintiffs’ monthly commission payments.



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       47.     Defendant actively instructed Plaintiffs and all other similarly situated MLO’s not

to report any and/or to reduce any reporting of actual overtime hours worked by the MLOs by

refusing to accept overtime hours submitted by MLOs to Managers. Instead, Defendant’s

Managers frequently and affirmatively instructed Plaintiffs and all other similarly situated MLOs

not to submit their true overtime hours worked, despite knowing that Plaintiffs were engaged in

substantial at-home overtime work.

       48.     This off-the-clock work involved attending open-houses hosted by realtors on the

weekend, which all Plaintiffs and those similarly situated were expected to and did do.

       49.     This off-the-clock also involved answering their phones, speaking with clients, and

processing loans after hours and at home on their company-issued laptops, which was suffered,

permitted, and known by Defendant.

       50.     Moreover, Plaintiffs and those similarly situated were expected to complete

continuing education credits and train in Defendant’s new “dotnet” computer system off-the-clock

and after-hours.

       51.     Moreover, as discussed below, Defendant deducted at least 2/3 of the overtime

compensation which it paid to any MLO in subsequent weeks, thereby discouraging Plaintiffs and

all other similarly situated MLOs from accurately reporting their time to Defendant.

       52.     The wages and compensation paid by Defendant to Plaintiffs and all other similarly

situated MLOs are substantially similar, if not identical, at all of Defendant’s locations where

MLOs work.




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       53.     Defendant and its Managers knowingly and intentionally affected the manner in

which overtime was to be recorded and reported and as such failed to pay all overtime due to

Plaintiffs and all other similarly situated MLOs in violation of the FLSA and the PMWA.

       54.     Defendant’s conduct has been both willful and in bad faith and especially designed

to avoid its legal obligations pursuant to the FLSA and the PMWA. Plaintiffs and all other similarly

situated MLOs are entitled to liquidated damages for such conduct pursuant to the FLSA and the

PMWA. Defendant’s practice is in deliberate violation of FLSA and the PMWA requirements.

       55.     Plaintiffs are/were present or former MLOs who were classified by Defendant's

written Employment Agreements with individual Plaintiffs, as well as Defendant’s own policy and

procedure manual and other internal documents, as “non-exempt” from the overtime provisions of

the FLSA and Pennsylvania laws described below.

       56.     The primary job of Plaintiffs and the Nationwide Collective Plaintiffs is selling,

originating, and producing home loans in Defendant’s offices in accordance with Defendant’s

policies and procedures.

       57.     Upon information and belief, Defendant uses the same Employment Agreements,

compensation practices, operating policies and procedures for its MLOs in all of its branches

throughout the United States.

       58.     Plaintiffs and those similarly situated regularly and customarily, with the actual or

constructive knowledge of Defendant, worked overtime hours (i.e worked more than 40 hours per

workweek), and were entitled to compensation at one and one half times their regular hourly rate

("overtime compensation") for those hours.



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       59.     Defendant regularly and willfully refused to pay Plaintiffs and those similarly

situated the required overtime compensation for overtime hours worked, and Defendant has failed

to keep accurate time records of the hours they worked as required by law.

       60.     Even when Defendant paid Plaintiffs and those similarly situated some or all of

their overtime compensation, the “straight time amount” paid as overtime, i.e. overtime hours paid

x $11.50 per hour, was deducted from their commissions earned in subsequent weeks.

       61.     As a result of the deductions stated in the preceding paragraph, and the use of the

improper regular hourly rate which failed to include commission and bonus pay, Defendant’s pay

system evaded the overtime requirements of the FLSA even during workweeks where Defendant

allegedly paid Plaintiffs and those similarly situated overtime compensation.

       62.     Additionally, Defendant improperly paid overtime hours worked because the

hourly rate upon which overtime pay was based failed to properly include commissions and bonus

pay earned.

       63.     Defendant regularly deducted the wages, straight time, and overtime pay previously

earned and paid to Plaintiffs and all other similarly situated MLOs in subsequent weeks from their

commissions earned.

       64.     Defendant's practices violate the FLSA and the PMWA. Plaintiffs and those

similarly situated seek declaratory relief, overtime compensation for all overtime work required,

suffered, or permitted by Defendant, wages and overtime pay Defendant improperly deducted from

Plaintiffs and Nationwide Collective Plaintiffs, commissions, liquidated damages and other

damages and penalties permitted by applicable law, interest, costs, and attorneys' fees.



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       65.     Other MLOs employed by Defendant have been the victim of Defendant’s pattern,

practice, and policies that are intentionally in violation of the FLSA.

       66.     Plaintiffs are aware that the illegal practices and policies of Defendant set forth

herein above have been imposed on other similarly situated workers and seek to send notice to

such other aggrieved current and former employees to give them an opportunity to join this action.

       67.     Defendant promulgated compensation policies and practices that uniformly

violated the wage and hour rights of the Plaintiffs and Nationwide Collective Plaintiffs under the

FLSA and PMWA by requiring them to perform integral and indispensable job activities without

compensation, also known as “off-the-clock” work.

       68.     Defendant further promulgated compensation policies and practices that uniformly

evaded the requirements of the FLSA and the PMWA including paying overtime premiums by

deducting the “straight time” pay, i.e. overtime hours paid x salary hourly rate, from the overtime

compensation previously paid to Plaintiffs and all other similarly situated MLOs in subsequent

weeks. These same policies further constitute unlawful deductions under the PWPCL.

       69.     Defendant further promulgated compensation policies and practices that uniformly

violated the requirements of the FLSA and the PMWA to pay overtime premiums at a rate of one-

and-one half times the regular rate by failing to account for commission payments when

determining the overtime premium due.

       70.     Defendant further promulgated compensation policies and practices that uniformly

evaded the requirements of the FLSA and the PMWA to pay at least the federal and state minimum

wage by deducting all salary paid to Plaintiffs and all other similarly situated MLOsin subsequent

pay periods. These same policies further constitute unlawful deductions under the PWPCL.

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       71.     Plaintiffs were non-exempt MLOs employed by Defendant during the relevant time

period who were entitled to, but did not receive, minimum wages for all hours worked and/or all

overtime wages for all hours that they worked in excess of 40 hours in a workweek.

       72.     Defendant uses the same or very similar job description, job qualifications,

operating policies, human resources policies, job functions and pay practices for its MLOs,

including Plaintiffs, at all Defendant banking facilities nationwide.

       73.     Defendant’s MLOs who constitute the Nationwide Collective Plaintiffs, are non-

exempt employees who are purportedly paid on an hourly basis pursuant to Defendant’s uniform

policies, procedures, and practices nationwide.

       74.     Defendant’s business operations, and the job duties, working conditions, wages and

compensation of Plaintiffs and all other MLOs are substantially similar, if not identical, at all of

Defendant’s locations throughout the country.

       75.     Plaintiffs can and will fairly and adequately represent and protect the interests of

those members of the class of similarly situated to wit: the Nationwide Collective Plaintiffs.

       76.     Plaintiffs' jobs as MLOs, as well as the jobs of those other similarly situated MLOs

as putative class members and Nationwide Collective Plaintiffs, consist of preparing loan

applications, collecting credit/financial documentation from potential borrowers, and engaging in

customer contact through telephone and email.

       77.     During their employment, Plaintiffs, Nationwide Collective Plaintiffs, and the

putative class were required to log into Defendant's computer system and engage in the origination

and production of home loans using Defendant’s loan origination system.



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       78.     During their employment, Plaintiffs, Nationwide Collective Plaintiffs, and the

putative class had no discretion to change rates or to offer products that did not satisfy Defendant’s

criteria, and had no authority to independently approve potential mortgage applications.

       79.     In the 3 years prior to the filing of this action, Plaintiffs, Nationwide Collective

Plaintiffs, and the putative class performed non-exempt duties for Defendant.

       80.     Defendant purportedly compensated Plaintiffs, Nationwide Collective Plaintiffs,

and the putative class on a non-exempt salary basis for 40 hours of work per workweek, but in fact

deducted the salary/wages paid for 40 hours of work weekly from future monthly commissions,

treating the purported “salary as a “draw.”

       81.     Defendant also purported to pay Plaintiffs, Nationwide Collective Plaintiffs, and

the putative class overtime, based solely on their hourly rate as determined from their “salary” and

deducted the “straight time” rate of the “overtime” paid from future monthly commissions.

       82.     Defendant compensated all of its MLOs, the Plaintiffs, Nationwide Collective

Plaintiffs, and the putative class, in the same way pursuant to uniform corporate policies, practices,

procedures, and standards throughout the United States as evidenced Defendant’s annual

"Incentive Compensation Plan."

       83.     The work performed by Plaintiffs, Nationwide Collective Plaintiffs, and the

putative class was an integral part of Defendant’s business because it brought residential mortgage

customers to Defendant.

       84.      Plaintiffs, Nationwide Collective Plaintiffs, and the putative class regularly and

customarily worked in excess of 40 hours per week, typically 50 to 60 (or more) hours per

workweek, during their employment with Defendant.

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       85.     Defendant failed to pay the Plaintiffs, Nationwide Collective Plaintiffs, and the

putative class time-and- one-half wages for overtime hours worked.

       86.     Defendant intentionally, willfully and unlawfully failed to pay the Plaintiffs,

Nationwide Collective Plaintiffs, and the putative class their regular rate for all hours worked and

failed to pay proper overtime pay for all overtime hours worked.

                                      COUNT I
                          FLSA CLAIM FOR UNPAID OVERTIME

       87.     All previous paragraphs are restated and re-alleged as though fully set forth herein.

       88.     The FLSA requires that covered employees be compensated at least the minimum

wage for every hour worked in a workweek. See 29 U.S.C. § 206(a)-(b).

       89.     The FLSA requires that covered employees be compensated one-and-one-half

times their regular rate for hours worked over 40 per workweek. 29 U.S.C. § 207.

       90.     Defendant is a covered “employer” required to comply with the FLSA's mandates.

       91.     Plaintiffs, and the Nationwide Collective Plaintiffs, are/were covered employees,

i.e. non-exempt employees, entitled to the FLSA's protections.

       92.     Defendant failed to maintain accurate time records of Plaintiffs’ and Nationwide

Collective Plaintiffs’ actual start times, actual stop times, hours worked each day and total hours

worked each workweek, within the three (3) year statute of limitations period.

       93.     Defendants’ violations of the FLSA include, but are not limited to: failing to pay

for overtime worked, failing to pay one and one half times Plaintiffs’ and the National Collective

Plaintiffs’ regular rate, and unlawfully evading the overtime requirements of the FLSA by

deducting the “straight time” or regular rate of pay for overtime hours worked, from Plaintiffs’

and National Collective Plaintiffs’ overtime previously earned and paid.
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                                    COUNT II
                      FLSA CLAIM FOR UNPAID MINIMUM WAGES

       94.    All previous paragraphs are restated and re-alleged as though fully set forth herein.

       95.    The FLSA requires that covered employees be compensated at least the minimum

wage for every hour worked in a workweek. See 29 U.S.C. § 206(a)-(b).

       96.    Defendant is a covered employer required to comply with the FLSA's mandates.

       97.    Plaintiffs, and the Nationwide Collective Plaintiffs, are/were covered employees,

i.e. non-exempt employees, entitled to the FLSA's protections.

       98.    Defendants’ violations of the FLSA include, but are not limited to: failing to pay

Plaintiffs and the Nationwide Collective Plaintiffs minimum wage for all hours worked in each

work week, as such wages were deducted from commissions and other compensation in

subsequent weeks.

                                     COUNT III
                              VIOLATIONS OF PWPCL
         (Pennsylvania Wage Payment and Collection Law, 43 P.S. §§260.1 – 260.12)

       99.    The foregoing paragraphs are re-alleged and reasserted as if set forth in full.

       100.   At all times relevant herein, Defendant has and continues to be an “employer”

within the meaning of the PWPCL.

       101.   At all times relevant herein, Defendant was responsible for paying wages to the

Pennsylvania Class.

       102.   At all times relevant herein, the Pennsylvania Class were employed with Defendant

as “employees” within the meaning of the PWPCL.

       103.   Under the PWPCL, an employer must pay an employee all wages due and may not

fail to pay an employee for all hours worked.
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       104.    Defendant’s violations of the PWPCL include, but are not limited to not paying

Pennsylvania Plaintiffs for time worked on pre-shift and post-shift activities.

       105.    Also Defendant violated the PWPCL by deducting wages previously earned in

subsequent pay periods by deducting such wages from the Pennsylvania Class Commission

earnings. Also, Defendant violated the PWPCL by deducting the “straight” time or regular rate of

pay for overtime hours worked, which previously had been paid, in subsequent pay periods from

Pennsylvania Plaintiffs’ commission earnings.

       106.    Defendant’s conduct in failing to pay the Pennsylvania Class properly was willful

and was not based upon any reasonable interpretation of the law.

       107.    As a result of Defendant’s unlawful conduct, the Pennsylvania Class have suffered

damages as set forth herein.

                                     COUNT IV
                              VIOLATIONS OF PMWA
     (Pennsylvania Overtime and Minimum Wage Violations, 43 P.S. §333.101-333.115)

       108.    The foregoing paragraphs are re-alleged and reasserted herein as if set forth in full.

       109.    At all times relevant herein, Defendant has been and continues to be an employer

within the meaning of the PMWA.

       110.    At all times relevant herein, Defendant was responsible for paying wages to Named

Plaintiffs and Pennsylvania Plaintiffs.

       111.    At all times relevant herein, the Pennsylvania Class were employed with Defendant

as “employees” within the meaning of the PMWA.




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       112.    Under the PMWA, an employer must pay an employee at least one and one-half

times his or her regular rate of pay for each hour worked in excess of 40 hours per workweek and

must pay at least $7.25 per hour for all hours worked.

       113.    Defendant failed to maintain accurate time records of Plaintiffs’ and Nationwide

Collective Plaintiffs’ actual start times, actual stop times, hours worked each day and total hours

worked each workweek, within the three (3) year statute of limitations period.

       114.    Defendant’s violations of the Pennsylvania Minimum Wage Act, include, but are

not limited to: failing to pay for overtime worked, failing to pay one and one half times the regular

rate to Plaintiffs’ and those similarly situated, and unlawfully evading the overtime and minimum

wage requirements of the Pennsylvania Minimum Wage Act by deducting from Plaintiffs’ and

National Collective Plaintiffs’ wages previously earned.

       115.    Defendant’s violations of the PMWA include, but are not limited to, not paying the

Pennsylvania Class for time worked on pre-shift and post-shift activities.

       116.    Defendant’s conduct in failing to pay the Pennsylvania Class properly was willful

and was not based upon any reasonable interpretation of the law.

       117.    As a result of Defendant’s unlawful conduct, the Pennsylvania Class have suffered

damages as set forth herein.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and all members of the Nationwide

FLSA Collective Action, pray for relief as follows:

       A.      Designation of this action as a collective action on behalf of the Nationwide FLSA

Collective Plaintiffs (asserting FLSA claims) and prompt issuance of notice pursuant to 29 U.S.C.

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§ 216(b) to all similarly situated members of the FLSA Opt-In Class, apprising them of the

pendency of this action, and permitting them to assert timely FLSA claims in this action by filing

individual Consent to Sue forms pursuant to 29 U.S.C. § 216(b);

        B.      Lost overtime wages and improperly deducted wages and overtime, to the fullest

extent permitted under the law;

        C.      Liquidated damages, prejudgment interest, and monetary penalties to the fullest

extent permitted under the law;

        D.      Litigation costs, expenses, and attorney's fees to the fullest extent permitted under

the law; and

        E.      Such other and further relief as this Court deems just and proper; and

        F.      A trial by jury.

        WHEREFORE, the Pennsylvania State Law Class Representatives, on behalf of

themselves and all members of the Pennsylvania State Law Class they seek to represent, pray for

relief as follows:

        A.      Certification of this action as a class action pursuant to Federal Rule of Civil

Procedure 23 on behalf of the proposed Pennsylvania State Law Class;

        B.      Appropriate equitable and injunctive relief to remedy Defendant's violations of

state law, including but not necessarily limited to an injunction prohibiting Defendant from

engaging in future violations;

        C.      Lost overtime wages, improperly deducted wages, and overtime, to the fullest

extent permitted under the law;



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       D.      Liquidated damages, prejudgment and post-judgment interest, and any other

monetary penalties to the fullest extent permitted under the law;

       E.      Litigation costs, expenses, and attorneys' fees; and

       F.      Such other and further relief as this Court deems just and proper; and

       G.      A trial by jury.



                                             Respectfully Submitted,

                                             /s/ Justin L. Swidler
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November 23, 2015




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